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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   C&C PROPERTIES, INC., et al.,                    No. 1:14-cv-01889-DAD-JLT
12                      Plaintiffs,
13          v.                                        ORDER DIRECTING THE FILING OF
                                                      SUPPLEMENTAL BRIEFING AND
14   SHELL PIPELINE COMPANY, et al.                   SETTING A STATUS CONFERENCE
15                      Defendants.                   (Doc. No. 331)
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18          On August 2, 2021, the Court of Appeals for the Ninth Circuit remanded this action for

19   the limited purpose of determining whether there is complete diversity in this case. (Doc. No.

20   331.) In the event this court determines complete diversity does not exist, the court was then

21   asked to consider whether the nondiverse party is indispensable or may be dropped in accordance

22   with Federal Rule of Procedure 21. (Id. at 3.)

23          Accordingly, a status conference is hereby set for August 24, 2021 at 10:00 a.m. PDT.

24   The parties are directed to file a proposed briefing schedule or other proposal as to how to

25   proceed, either jointly or separately, one week before the August 24, 2021 status conference.

26   IT IS SO ORDERED.
27
        Dated:     August 5, 2021
28                                                        UNITED STATES DISTRICT JUDGE
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